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 5

 6 Attorneys for Plaintiff
   United States of America
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 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                            CASE NO. CR S 13-0378 JAM
11
                                   Plaintiff,
12
                            v.
13
     MICHAEL KEATTS,                                      STIPULATION AND PROTECTIVE ORDER
14                                                        BETWEEN UNITED STATES AND DEFENDANT
                                   Defendant.
15

16
            WHEREAS, the discovery in this case is voluminous and contains a large amount of personal
17
     information including but not limited to Social Security numbers, dates of birth, bank account numbers,
18
     telephone numbers and residential addresses (“Protected Information”); and
19
            WHEREAS, the parties desire to avoid both the necessity of large scale redactions and the
20
     unauthorized disclosure or dissemination of this information to anyone not a party to the court
21
     proceedings in this matter;
22
            The parties agree that entry of a stipulated protective order is appropriate.
23
            THEREFORE, the defendant, by and through his counsel, and Plaintiff, the United States of
24
     America, hereby agree and stipulate as follows:
25
            1.      This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of
26
     Criminal Procedure, and its general supervisory authority.
27
            2.      This Order pertains to all discovery provided to or made available to counsel for the
28
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 1 defendant as part of discovery in this case (hereafter, collectively known as “the discovery”).

 2          3.      By signing this Stipulation and Protective Order, counsel for the defendant agrees not to

 3 share any documents that contain Protected Information with anyone other than co-counsel and

 4 designated defense investigators and support staff. Counsel for the defendant may permit the defendant

 5 to view unredacted documents in the presence of his attorney, defense investigators and support staff.

 6 The parties agree that counsel for the defendant, defense investigators and support staff shall not allow

 7 the defendant to copy Protected Information contained in the discovery. The parties agree that counsel

 8 for the defendant, defense investigators, and support staff may provide the defendant with copies of

 9 documents from which Protected Information has been redacted.

10          4.      The discovery and information therein may only be used in connection with the litigation

11 of this case and for no other purpose. The discovery is now and will forever remain the property of the

12 United States Government. Counsel for the defendant will return the discovery to the Government or

13 certify that it has been shredded at the conclusion of the case.

14          5.      Counsel for the defendant will store the discovery in a secure place and will use

15 reasonable care to ensure that it is not disclosed to third persons in violation of this agreement.

16          6.      Counsel for the defendant shall be responsible for advising his client, employees, and

17 defense witnesses of the contents of this Stipulation/Order.

18          7.      In the event that the defendant substitutes counsel, undersigned counsel for the defendant

19 agrees to withhold discovery from new counsel unless and until substituted counsel agrees also to be

20 bound by this Order.

21

22          IT IS SO STIPULATED.

23

24 Dated: July 29, 2015                                       BENJAMIN B. WAGNER
                                                              United States Attorney
25

26                                                    By: /s/ PHILIP A. FERRARI
                                                          PHILIP A. FERRARI
27                                                        Assistant United States Attorney
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      STIPULATED PROTECTIVE ORDER                         2
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 2
     Dated: July 29, 2015
 3
                                           By: /s/
 4                                             OLAF HEDBERG
                                               Counsel for Defendant Michael Keatts
 5

 6
     IT IS SO FOUND AND ORDERED.
 7

 8 Dated: 8/4/2015
                                                  /s/ John A. Mendez
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                                                  HON. JOHN A. MENDEZ
10                                                U.S. DISTRICT COURT JUDGE
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      STIPULATED PROTECTIVE ORDER             3
